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October 5, 2020

VIA ECF

Judge Paul A. Engelmayer
United States District Court
Southern District of New York
40 Foley Square, Room 2201
New York, NY 10007

       Re:     MDA Manufacturing, Inc. v. Mexichem Fluor Comercials S.A. De C.V., 20-cv-
               03835-PAE

Dear Judge Engelmayer:

       We represent defendant Mexichem Fluor Comercials S.A. De C.V. (“Mexichem”) in the
above-referenced matter. We write pursuant to Your Honor’s Individual Rules and Practices in
Civil Cases Rule 4.B and Standing Order 19-MC-00583 to seek sealing of limited portions of the
Memorandum of Law in Support of Mexichem’s Motion to Dismiss the Amended Complaint
(Doc. No. 25) (the “Memorandum of Law”).

        This action arises from a supply agreement between the parties (the “Supply Agreement”)
that contains a confidentiality provision. When the plaintiff filed the Amended Complaint, it
submitted Supply Agreement under seal and filed a public version of the Amended Complaint
that redacts many references to information in the Supply Agreement. See Doc. Nos. 18, 21, 22.

        Therefore, Mexichem seeks to seal those limited portions of the Memorandum of Law that
explicitly incorporate the Supply Agreement and may be determined to be confidential. A
redacted version of the Memorandum of Law is filed herewith. A sealed version of the
Memorandum of Law that highlights these redacted portions is filed herewith under seal.

       Thank you for your consideration.

                                           Respectfully submitted,

                                            s/Debbie McComas

                                           Debbie McComas

cc: Counsel of record (via ECF)

Granted.                                                                            Haynes and Boone, LLP
                                                                                  Attorneys and Counselors
                                                                             30 Rockefeller Plaza, 26th Floor
SO ORDERED.                                                                       New York, New York 10112
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                  PAUL A. ENGELMAYER                                                www.haynesboone.com
October 20, 2020 United States District Judge
